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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   PLANO DIVISION

 La’Shadion Shemwell,                       §
 As Council Member, and                     §
 In his individual capacity as a voter of   §
 District 1,                                §
                                            §
               Plaintiff,                   §
                                            §        Civil Action No. 4:20-cv-00043-SDJ
 v.                                         §
                                            §
 City of McKinney, Texas,                   §
                                            §
               Defendant.                   §


                DEFENDANT’S RULE 12(b)(6) MOTION TO DISMISS
            FOR FAILURE TO STATE A CLAIM, AND BRIEF IN SUPPORT



                                                /s/ Kent S. Hofmeister
                                                Kent S. Hofmeister
                                                State Bar No. 09791700
                                                khofmeister@bhlaw.net
                                                Robert F. Brown
                                                State Bar No. 03164725
                                                rbrown@bhlaw.net

                                                BROWN & HOFMEISTER, L.L.P.
                                                740 East Campbell Road, Suite 800
                                                Richardson, Texas 75081
                                                (214) 747-6100 (Telephone)
                                                (214) 747-6111 (Telecopier)

                                                Attorneys for Defendant
                                                City of McKinney, Texas




February 17, 2020
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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                     PLANO DIVISION

 La’Shadion Shemwell,                                §
 As Council Member, and                              §
 In his individual capacity as a voter of            §
 District 1,                                         §
                                                     §
                 Plaintiff,                          §
                                                     §        Civil Action No. 4:20-cv-00043-SDJ
 v.                                                  §
                                                     §
 City of McKinney, Texas,                            §
                                                     §
                 Defendant.                          §


                 DEFENDANT’S RULE 12(b)(6) MOTION TO DISMISS
             FOR FAILURE TO STATE A CLAIM, AND BRIEF IN SUPPORT

        Defendant City of McKinney, Texas (“Defendant” or “City”), pursuant to Federal Rule of

Civil Procedure 12(b)(6), files this motion to dismiss Plaintiff’s Original Verified Petition and

Application for Temporary Restraining Order and Injunctive Relief (“Complaint”) for failure to

state a claim upon which relief can be granted. In support of this motion, Defendant respectfully

shows the Court as follows:

                                I.      GROUNDS FOR MOTION

        Plaintiff Shemwell has brought a single federal claim against Defendant for the alleged

violation of § 2 of the Voting Rights Act of 1965, as amended, pursuant to 42 U.S.C. §1973.

Defendant asserts that Plaintiff’s Complaint fails to state a claim upon which relief can be granted

because it does not plead a cause of action under the two-step Gingles analysis, if applicable: three

threshold factors that, if met, require satisfying the “totality of the circumstances” test. In addition,

three circuit courts of appeals have held that § 2 of the Act does not apply to voter-initiated

petitions, and one federal district court in Texas, acting on a case with a similar fact situation,

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found that the plaintiffs’ claims failed because the issue in the Fifth Circuit is, at best, unsettled.

Accordingly, Plaintiff’s claims against Defendant should be dismissed.

                            II.     PROCEDURAL BACKGROUND

       Plaintiff’s Complaint was filed on January 20, 2020. ECF Doc. No. 1. On January 21, 2020,

the Court held a hearing on Plaintiff’s motion for a temporary restraining order (“TRO”). ECF

Doc. No. 3. At the hearing, Plaintiff voluntarily withdrew his motion for a TRO and the case was

set for a preliminary injunction hearing on February 4, 2020. ECF Doc. No. 3.

       At Plaintiff’s request, a telephone status conference was set for January 23, 2020. ECF

Doc. Nos. 6, 7. During the conference, Plaintiff requested that the hearing on the preliminary

injunction be vacated and that an expedited hearing on Plaintiff’s motion for a permanent

injunction be set. The Court granted Plaintiff’s motion, and set the permanent injunction hearing

for March 30-31, 2020. ECF Doc. No. 12.

       Following the telephone conference, the Court entered its January 23, 2020 Order

Governing Proceedings, which set certain expedited deadlines for the parties, one of which was to

complete and exchange initial mandatory disclosures by January 31, 2020. ECF Doc. No. 8. On

February 3, 2020, the Court issued its Scheduling Order, which set a deadline of February 5, 2020,

previously agreed to by the parties, for Plaintiff to file any amended pleadings. ECF Doc. No. 12.

       As of the date the City filed this Motion to Dismiss, Plaintiff has not amended his

Complaint. See ECD, passim. Defendant timely served Plaintiff with its initial mandatory

disclosures, ECF Doc. No. 13; however, Plaintiff has not served any disclosures on Defendant.

See ECD, passim. Consequently, Plaintiff’s Complaint is the live “complaint” before this Court

for purposes of this Motion to Dismiss, and Plaintiff, at this time, has produced no evidence and

has identified no witnesses other than what appears within the four corners of his Complaint.


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                               III.    PLAINTIFF’S COMPLAINT

        Plaintiff’s Complaint makes the following claims:

        1.      Plaintiff is a member of the McKinney City Council who resides in and represents

District 1 of the City of McKinney (“District 1”). Pl.’s Compl., ECD Doc No. 1, ¶¶ 1; II, 7.1 He is

a registered voter of District 1, id., and a resident of Collin County, Texas. Pl.’s Compl., ECD Doc.

No. 1, ¶ 15. Plaintiff was “duly and democratically elected by [District 1] to the City Council in

2017 for a term of four years.” Id.

        2.      According to the most recent U.S. Census Bureau statistics, “77% of McKinney

residents are white, 11% are black, 6% are Asian, and 18% are of Hispanic or Latino origin.” Pl.’s

Compl., ECD Doc. No. 1, ¶ 15.

        3.      At the time of Plaintiff’s election, District 1 was “the only minority-majority district

in McKinney.” Pl.’s Compl., ECD Doc. No. 1, Verification. District 1 has “the highest number of

minorities in McKinney.” Pl.’s Compl., ECD Doc. No.1, ¶ II., 7.

        4.      The City of McKinney currently has seven City Council members; four represent

single-member districts, and the Mayor and two Council members are elected city-wide, or at-

large. Pl.’s Compl., ECD Doc. No. 1, ¶ 5. The current make-up of today’s Council is six white

males and one African-American male; no women currently serve on this Council. Id.

        5.      In May 2019, Defendant placed the following language on the ballot to be voted on

by the citizens of McKinney:

        Proposition F: Shall Section 145 of the City Charter be amended to provide for a reduction
        in the required petition signatures needed to initiate a recall election?

                Proposed language: “Sec. 145. – Recall petitions


1
  Plaintiff’s Complaint at page 2 twice contains a paragraph No. 7 and a paragraph No. 8; the cite in this
instance refers to “II. Parties,” No. 7.

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               The recall petition to be effective must be returned and filed with the City
               Secretary within forty-five (45) days after the filing of the affidavit required
               for initiative and referendum petitions, and it must be signed by qualified
               voters residing in any district, irrespective of the seat subject of the recall
               petition, of the City equal in number to at least thirty (30) percent of the
               total number of votes cast at the last regular municipal election; provided,
               however, that the petition shall contain the signatures of at least one
               thousand (1,000) of the qualified voters of the City and shall conform to the
               provisions of initiative and referendum petitions. No petition papers shall
               be accepted as part of petition unless it bears the signature of the City
               Secretary as required in initiative and referendum petitions.”

       Proposition G: Shall Section 146 of the City Charter be amended to clarify that recall
       elections are city wide?

               Proposed language: “Sec. 146. – Recall election

               The City Secretary shall at once examine the recall petition and, if the City
               Secretary finds it sufficient and in compliance with the provisions of this
               Chapter of the Charter, the City Secretary shall within five (5) days or at the
               next regular City Council meeting, whichever is later, submit it to the City
               Council with its office’s certificate to that effect and notify the officer
               sought to be recalled of such action.
               If the officer whose removal is sought does not resign within five (5)
               days after such notice, the City Council shall thereupon order and fix a
               date for holding a citywide recall election according to State

Pl.’s Compl., ECD Doc No. 1, ¶ 15 (emphasis in original) (sic).

       6.      The proposed Charter amendment(s) was approved by the voters in the May 2019

election. Pl.’s Compl., ECD Doc No. 1, ¶ 6.

       7.      Plaintiff’s Complaint, filed on January 20, 2020, asserts that “on January 21st,

2020, the McKinney City Council will vote to set a date of May 3, 2020 for a ‘recall election’

based on a petition to remove Plaintiff from his position on the City Council,” Pl.’s Compl., ECD

Doc. No. 1, ¶ 2; however, Plaintiff has not amended his pleading to allege what action, if any, the

McKinney City Council took on January 21, 2020, and, the existing Complaint, of course, does

not allege what action, if any, the Council took the day after the Complaint was filed. See Pl.’s

Compl., passim.

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       8.      The “‘recall election’ is to be held city-wide (or ‘at large’) and shall encompass the

entirety of the City of McKinney, not just District 1, which elected Mr. Shemwell to his position

in the city council.” Pl.’s Compl., ECD Doc. No.1, ¶ 3.

       9.      Plaintiff brings this action under § 2 of the Voting Rights Act, 42 U.S.C. 1973 (and

as amended in 1982), Pl.’s Compl., ECD Doc. No.1, ¶ 9, alleging that the two 2019 City Charter

amendments are facially unconstitutional and as applied because, by allowing voters city-wide to

vote in the District 1 recall election, it impermissibly dilutes the minority vote. Pl.’s Compl., ECD

Doc. No.1, ¶¶ 14, 15, 17- 20.

                          IV.     ARGUMENT AND AUTHORITIES

       A.      Rule 12(b)(6) motion: The appropriate legal standard

       Federal Rule of Civil Procedure 12(b)(6) authorizes a court to dismiss a plaintiff’s

complaint for “failure to state a claim upon which relief can be granted.” Fed.R.Civ.P. 12(b)(6).

In considering a Rule 12(b)(6) motion to dismiss, “[t]he court accepts all well-pleaded facts as

true, viewing them in the light most favorable to the plaintiff.” In re Katrina Canal Breaches Litig.,

495 F.3d 191, 205 (5th Cir. 2007) (quoting Martin K. Eby Constr. Co. v. Dallas Area Rapid

Transit, 369 F.3d 464, 467 (5th Cir. 2004)). The court should “not look beyond the face of the

pleadings to determine whether relief should be granted based on the alleged facts.” Spivey v.

Robertson, 197 F.3d 772, 774 (5th Cir. 1999).

       To survive a motion to dismiss, a plaintiff must plead “enough facts to state a claim to

relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).

“Threadbare recitals of the elements of a cause of action, supported by mere conclusory statements,

do not suffice.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “A claim has facial plausibility when

the plaintiff pleads factual content that allows the court to draw the reasonable inference that the


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defendant is liable for the misconduct alleged.” Id. “The plausibility standard is not akin to a

‘probability requirement,’ but it asks for more than a sheer possibility that a defendant has acted

unlawfully.” Id. (quoting Twombly, 550 U.S. at 557).

        When well-pleaded facts fail to achieve this plausibility standard, “the complaint has

alleged—but it has not shown—that the pleader is entitled to relief.” Id. at 679 (internal quotation

marks and alterations omitted). As will be shown herein, Plaintiff’s Complaint should be dismissed

because Plaintiff has failed to plead a plausible claim against Defendant under § 2 of the Voting

Rights Act.

        B.      Plaintiff’s case under § 2 of the Voting Rights Act fails under Gingles

        Section 2 of the Voting Rights Act of 1965, as amended, provides as follows:

        No voting qualification or prerequisite to voting or standard, practice, or procedure
        shall be imposed or applied by any State or political subdivision in a manner which
        results in a denial or abridgement of the right … to vote on account of race or color.

42 U.S.C. § 1973(a). “The essence of a § 2 claim is that a certain electoral law, practice, or structure

interacts with social and historical conditions to cause an inequality in the opportunities enjoyed

by black and white voters to elect their preferred representatives.” Thornburgh v. Gingles, 478

U.S. 30, 47 (1986); see also Harding v. County of Dallas, Texas, -- F.3d --, 2020 WL 254827, at

*3 (E.D. Tex. Jan. 17, 2020). Gingles is the most recent U.S. Supreme Court case cited by Plaintiff

in his Complaint that addresses § 2 of the Act and on which he apparently relies. Pl.’s Compl.,

ECD Doc. No. 1, ¶ 15.

        The plaintiffs in Gingles were a group of African-American citizens of North Carolina who

challenged a legislatively enacted redistricting plan. The Court there articulated a two-step test

establishing a § 2 vote dilution claim:

        At the first step, the plaintiff must satisfy three threshold conditions: A “minority
        group” must be “sufficiently large and geographically compact to constitute a

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       majority in a single member district”; the minority group must be “politically
       cohesive”; and the majority group must vote as a bloc such that it can usually …
       defeat the minority’s preferred candidate.” “Failure to establish any one of these
       threshold requirements is fatal” [….]

       After meeting the three prongs of Gingles, a plaintiff must establish that the
       “totality of the circumstances” supports a finding of vote dilution. This entails a
       functional analysis that is “peculiarly dependent upon the facts of each case and
       requires an intensely local appraisal of the design and impact of the contested
       electoral mechanisms.”

Harding, 2020 WL 254827, at *3-4 (citations omitted); see also Gingles, 478 U.S. 50-51; Lopez

v. Abbott, 339 F.Supp.3d 589, 601-03 (S.D. Tex. 2018). Proof of all three threshold conditions

“creates an inference that members of the minority are in fact harmed by the challenged electoral

practice, procedure, or structure.” Id. at 601-02, citing Uno v. City of Holyoke, 72 F.3d 973, 979

(1st Cir. 1995). The inference, however, is rebuttable, and the Gingles “totality of the

circumstances” test is “the means by which the inference of vote dilution may be rebutted or

cemented.” Lopez, 339 F.Supp.3d at 602.

       Assuming arguendo the applicability of Gingles to this recall election challenge, Plaintiff’s

case nevertheless falters at the outset because he has failed to plead, and therefore cannot prove,

any of the requisite threshold conditions; therefore, his Complaint fails to state a plausible claim

upon which relief can be granted, warranting dismissal of his case.

       Under the first of the three Gingles threshold factors, Plaintiff must identify a minority

group that is sufficiently large and geographically compact to constitute a majority in a single-

member district. Harding, 2020 WL 254827, at *3-4. Nowhere on the face of the Complaint,

however, does Plaintiff claim he is a member of a minority group, much less a member of a

specific, identified minority group. See Pl.’s Compl., ECD Doc. No. 1, passim. The Complaint

does not identify any majority or minority group in any single-member voting district in

McKinney, including District 1; rather, it offers a one-sentence, city-wide statistical breakdown of

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population by ethnicity based on “current” numbers from the U.S. Census Bureau: 77% of

McKinney residents are white, 18% are Hispanic or Latino, 11% are black, and six percent are

Asian. Id. at ¶ 15. Further, the Complaint makes no claim about the racial make-up of District 1,

nor does it allege that a history of Defendant’s actions created a system that resulted in or

maintained a discriminatory system of voter dilution. See, e.g., Lopez, 339 F.Supp.3d at 601

(evidence relevant to a determination of voter dilution based on race “must be made over time and

over the course of many elections.”). Consequently, the Complaint is fatally deficient under a

Gingles analysis because it fails to adequately plead a cause of action under the first factor.

        Plaintiff’s case under Gingles and § 2 of the Voting Rights Act fares no better, however,

upon examining the second and third factors. He makes no claim that any identified minority group

or combination of minority groups, and certainly any such group to which Plaintiff belongs, is

“politically cohesive,” or that a majority group exists that, when it votes as a bloc, “defeats the

minority’s preferred candidate.” See Harding, 2020 WL 254827, at *3; Lopez, 339 F.Supp.3d at

601. In short, Plaintiff’s Complaint under Gingles fails to adequately plead a cause of action upon

which relief can be granted.

        But even if Plaintiff successfully pled the three Gingles threshold factors such that he might

prove them at trial, he still must satisfy the second-tier “totality of the circumstances” test. Gingles,

478 U.S. at 37-38; Harding, 2020 WL 254827, at *3; Lopez, 339 F.Supp.3d at 601. Simply put, a

plaintiff must prove, and therefore must plead, a cause of action and facts that allow a court to

balance “a number of considerations to determine whether there is unlawful vote dilution under

the totality of the circumstances.” Id. at 602. Those factors include the history of official

discrimination in voting, practices that enhance the potential for discrimination against minorities,

the social, educational, and financial legacy of discrimination that hinders effective minority


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participation in the political process, and whether the reasoning for imposing the challenged voting

methodology is tenuous, among similar considerations. Id.

       Plaintiff’s Complaint is totally devoid of any material, relevant factual allegations that

support a claim under Gingles or § 2 of the Voting Rights Act, and his pleadings are not sufficient

to withstand dismissal. This Motion should be granted.

       C.      § 2 of the Voting Rights Act does not apply in recall election cases

       But finally, a federal district court in Texas, in a case with remarkable similarities to the

instant matter, expressly rejected the argument that § 2 of the Voting Rights Act applies to the

recall petition process. In McBride v. City of Jasper, 2011 WL 13249480, at *8-10 (E.D. Tex. Oct.

20, 2011), a group of citizens initiated a recall election for Council members who had voted for

the appointment of a new police chief. The recall procedures were provided by the city’s charter,

which allowed the city’s qualified voters, on an at-large basis, to subject a city council member

representing a single-member district to a recall election. Id. at *1.

       Acknowledging that courts should interpret the Voting Rights Act “in a manner that

provides the broadest possible scope,” id. at *8, citing Chisom v. Roemer, 501 U.S. 391, 403

(1991), the court also cautioned that “for [§] 2 to apply, the challenged situation must constitute a

qualification, prerequisite, standard, practice or procedure within the meaning of [§] 2.” McBride,

2011 WL 13249480, at *8, citing United States v. Brown, 561 F.3d 420, 432 (5th Cir. 2009).

       The court stated that courts generally were reluctant to apply the Voting Rights Act to the

petition process, and noted three different circuit courts of appeals that have held the Act does not

apply to voter-initiated petitions. McBride, 2011 WL 13249480, at *8-10; Padilla v. Lever, 463

F.3d 1046, 1050-53 (9th Cir. 2006); Montero v. Meyer, 861 F.2d 603, 607-09 (10th Cir. 1988);

Delgado v. Smith, 861 F.2d 1489, 1492-93 (11th Cir. 1988). It then stated it was “unaware of any


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court that has addressed whether a charter violates § 2 of [the Act] by allowing citizens, on an at

large basis, to subject the elected representatives of a single-member district to a recall election,

and Plaintiffs have failed to cite such a case.” McBride, 2011 WL 13249480, at *8.

        The court next considered a case decided by the Fifth Circuit, Smith v. Winter, 717 F.2d

191 (5th Cir.1983), which it concluded “has only suggested that ‘allegations of improper conduct

in the application of the recall process [would have to be liberally] construed to implicate rights

arising under [§] 2.’” McBride, 2011 WL 13249480, at *8. The Smith court, notably, “considered

the scope of the ‘right to vote’ within the meaning of [the Act] and concluded that it ‘stops short

of any absolute right to resist recall from office’”; rather, the “right[ ] to vote,” it held, “[is]

consummated and made effective in the election.” Id. at *9; Smith, 717 F.2d at 199. The McBride

court held that the plaintiffs’ claim failed because “this issue is unresolved, especially in the Fifth

Circuit.” McBride, 2011 WL 13249480, at *10.

        D.      Plaintiff cannot plead or prove a claim for injunctive relief under
                the Voting Rights Act based on Fifth Circuit precedent

        As in this case, the McBride plaintiffs sought preliminary injunctive relief; however, the

court denied that request, noting that injunctive relief is an extraordinary and drastic remedy, and

the movant has the burden, by a clear showing, to establish (1) a substantial likelihood of success

on the merits, (2) a substantial threat of irreparable injury, (3) that the threatened injury if the

injunction is denied outweighs any harm that will result if the injunction is granted, and (4) that

the grant of an injunction will not disserve the public interest. Id. at *5, citing Janvey v. Alguire,

647 F.3d 585, 595 (5th Cir. 2011).

        The court determined that the plaintiffs were unable to establish the first of the four bases

for awarding injunctive relief, i.e., a substantial likelihood of success on the merits, given the Smith

decision, which suggested that the Voting Rights Act does not apply to recall procedures. McBride,

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2011 WL 13249480, at *10; Smith, 717 F.2d at 199. The same logic applies here, as the Complaint

does not allege, and Plaintiff therefore cannot show, that he can establish a substantial likelihood

of success on the merits. As the McBride court held in denying the plaintiffs’ requested injunctive

relief based on that first prong, “Plaintiffs have not cited, nor can the court find, any decision in

which other plaintiffs have prevailed on arguments remotely similar to those asserted in the present

case.” McBride, 2011 WL 13249480, at *10-13.

       Plaintiff has failed to state a claim that entitles him to the injunctive relief he has requested,

and Defendant’s Motion should be granted.

       E.        Plaintiff should not be permitted to amend or replead his Complaint

       Customarily, the Court, in its discretion and in granting this Motion, could allow Plaintiff

to replead a viable cause of action. Defendant urges the Court that it not permit Plaintiff to amend

his Complaint.

       A trial on Plaintiff’s application for a permanent injunction, expedited at Plaintiff’s request,

is scheduled for March 30, 2020, now fewer than 45 days from today’s date. Plaintiff filed his

Complaint on January 20, 2020; the Court set a deadline of February 5, 2020, by which Plaintiff

could amend his pleadings. Plaintiff has had the opportunity within the last two weeks to replead

and he has either failed or elected not to do so. Allowing Plaintiff to replead his case puts

Defendant at a critical disadvantage, given the time constraints on Plaintiff responding to this

Motion and the Court ruling on it, filing an answer to an amended pleading, discovery, other case-

dispositive motions, and other court-imposed deadlines. This disadvantage is further compounded

by the fact that Plaintiff has not provided Defendant with the initial disclosures mandated by the

Court’s Scheduling Order, although Defendant has timely served Plaintiff with such disclosures

as well as subsequent written discovery.


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                                V.      REQUEST FOR RELIEF

       For the reasons stated above, Defendant City of McKinney, Texas, respectfully requests

that the Court grant this Motion to Dismiss, dismissing all claims of Plaintiff Shemwell against it

based on the pleading deficiencies of the Complaint and the lack of precedent cited by Plaintiff in

support of his claims, and Fifth Circuit precedent that rejects his claims under the Voting Rights

Act. Defendant also prays for any additional relief, general or special, at law or in equity, to which

it may show itself to be entitled.

                                                      Respectfully submitted,


                                                      /s/ Kent S. Hofmeister
                                                      Kent S. Hofmeister
                                                      State Bar No. 09791700
                                                      khofmeister@bhlaw.net
                                                      Robert F. Brown
                                                      State Bar No. 03164725
                                                      rbrown@bhlaw.net

                                                      BROWN & HOFMEISTER, L.L.P.
                                                      740 East Campbell Road, Suite 800
                                                      Richardson, Texas 75081
                                                      (214) 747-6100 (Telephone)
                                                      (214) 747-6111 (Telecopier)

                                                      Attorneys for Defendant
                                                      City of McKinney, Texas


                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 17th day of February, 2020, I electronically filed the foregoing
document with the Clerk of the Court for the Eastern District of Texas, Plano Division, using the
CM/ECF system, which will send notification of such filing to all counsel who have registered
with the Court.

                                                      /s/ Kent S. Hofmeister
                                                      Kent S. Hofmeister



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